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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                         ORDER

I.     INTRODUCTION

       This matter is before the Court on Timothy O’Reilly’s “Motion to Submit Only

Count Two of the Indictment to the Sentencing Jury.” (Doc. #605). O’Reilly relies on

United States v. Almany, 598 F.3d 238 (6th Cir. 2010), to support his position that the

jury should be instructed that it can only recommend a punishment on Count 2 of the

Second Superseding Indictment (Bank Robbery, in violation of 18 U.S.C. §2113(e)), and

not Count 3 (Murder with a Firearm During and In Relation to a Violent Crime, in

violation of 18 U.S.C. §924(j)).

       Oral argument was heard on August 5, 2010.

       O’Reilly’s motion is DENIED.

II.    APPLICABLE LAW AND ANALYSIS

       In Almany, the defendant pled guilty to: (1) conspiracy to distribute and

possession with intent to distribute five kilograms or more of cocaine, in violation of 21

U.S.C. §841(b)(1)(A); and (2) possession of a firearm in furtherance of a drug trafficking

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crime, in violation of 18 U.S.C. §924(c)(1)(A). Almany, 598 F.3d at 239. The district

court sentenced the defendant to a mandatory 10-year sentence under §841(b)(1)(A),

and a consecutive 5-year sentence under §924(c)(1)(A). Id.

      The Sixth Circuit reversed and remanded for re-sentencing, holding that the plain

language of §924(c) forbids a court from sentencing a criminal defendant under both the

mandatory minimum sentence found in §924(c) and another, greater mandatory

minimum sentence in any other provision of law. Id. at 241. See 18 U.S.C. §924(c):

      Except to the extent that a greater minimum sentence is otherwise
      provided by this subsection or by any other provision of law, any person
      who, during and in relation to any crime of violence or drug trafficking
      crime . . . for which the person may be prosecuted in a court of the United
      States, uses or carries a firearm, or who, in furtherance of any such crime,
      possesses a firearm, shall, in addition to the punishment provided for such
      crime of violence or drug trafficking crime —

      (i)     be sentenced to a term of imprisonment of not less than 5 years;

      (ii)    if the firearm is brandished, be sentenced to a term of imprisonment
              of not less than 7 years; and

      (iii)   if the firearm is discharged, be sentenced to a term of imprisonment
              of not less than 10 years.

(Emphasis added).

      O’Reilly was convicted under both §924(j) and §2113(e).

      It is true that §2113(e) has a greater mandatory minimum sentence than §924(j).

Compare 18 U.S.C. §924(j):

      A person who, in the course of a violation of subsection (c), causes the
      death of a person through the use of a firearm, shall–

      (1)     if the killing is a murder (as defined in section 1111), be punished
              by death or by imprisonment for any term of years or for life[]

with 18 U.S.C. §2113(e):

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       Whoever, in committing any offense defined in this section . . . kills any
       person . . . shall be imprisoned not less than ten years, or if death results
       shall be punished by death or life imprisonment.

(Emphasis added).

       It is also true that §924(j) is triggered by a violation of §924(c). However,

because §924(j) has its own sentencing component, a crime committed under §924(j) is

not governed by the sentencing component of §924(c), or the “except to the extent”

language in §924(c). Concluding that a defendant who violates §924(j) will be

sentenced under §924(c) – and, therefore, be subject to the rule created in Almany –

would render the sentencing component of §924(j) meaningless.

III.   CONCLUSION

       The Court DENIES O’Reilly’s motion. Counts 2 and 3 of the Second

Superseding Indictment will be submitted to the jury.

       However, at O’Reilly’s request, the Court will not give the sentencing jury the

option of recommending that O’Reilly be sentenced to “any term of years.” The only

options for the sentencing jury will be life in prison without the possibility of release, or

the death penalty, upon agreement of the parties.

       IT IS ORDERED.


                                            s/Victoria A. Roberts
                                            Victoria A. Roberts
                                            United States District Judge

Dated: August 6, 2010




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 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




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